                                    AFFIDAVIT
                                        of
                                  STACY R. BANKS
                                  SPECIAL AGENT
                         FEDERAL BUREAU OF INVESTIGATION

       I, Stacy R. Banks, being duly sworn, do hereby depose and state as follows:

       1.      I am a Special Agent (“SA”) with the Federal Bureau of Investigation (FBI) and

am assigned to the Jefferson City, Missouri Office. I have been an SA with the FBI for

approximately seventeen (17) years. In the course of my career, I have participated in numerous

investigations concerning violations of Title 18 and 21, United States Code. I am currently

assigned to criminal investigations involving white collar crimes. I have gained expertise in the

conduct of such investigations through training in seminars, classes and everyday work related to

these types of investigations. I have also conducted and assisted with investigations regarding

computers, cell phones, and other related electronic storage devices and their use to commit and/or

further crimes. I have been involved in the execution of search warrants to search residences and

seize digital evidence including, but not limited to, computers, cell phones, and other related

electronic storage devices.

       2.      This affidavit is made in support of an application for a search warrant to search for

and seize instrumentalities, fruits and evidence of crimes against the United States of America

including violations of bank fraud (18 U.S.C. § 1344), false statements to a financial institution

(18 U.S.C. § 1014), false statements to the Small Business Administration (18 U.S.C. § 1001),

aggravated identity theft (18 U.S.C. § 1028A(a)(1)), money laundering (18 U.S.C. § 1957), and

conspiracy to commit bank fraud (18 U.S.C. § 1349) (herein referred to as the “Subject Offenses”).

There is probable cause to search 508 Summerhill Drive, Jefferson City, Missouri, as described in

Attachment A, including DEVICES as described in Attachment B for the information described

in Attachment B for evidence of these crimes and contraband or fruits of these crimes.



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        3.      The information in this affidavit is based on my personal knowledge, information

provided to me by other law enforcement officers and other persons. In the course of preparing

this affidavit and conducting the present investigation, I have consulted with agents and

investigators with specialized training and experience in digital evidence and forensics. The

information in this affidavit is submitted for the limited purpose of establishing probable cause in

connection with the present application, and is not intended as a complete statement of all facts

related to this investigation.

        4.      As discussed below, evidence gathered to date provides probable cause to believe

that Tod Ray Keilholz, also known as (a/k/a) Todd Ray Keilholz (“Keilholz”) through entities he

has operated or controlled – including TRK Construction, LLC; TRK Valpo, LLC; TL Builders,

LLC; and Project Design, LLC – has engaged in a scheme to defraud lenders and the U.S. Small

Business Administration (SBA) by applying for and obtaining the following loans in the name of

the businesses listed based on material falsehoods and omissions:

             a. TRK Construction, LLC – September 21, 2018 - $976,771 (Hawthorn Bank – Non-

                PPP Loan)

             b. TRK Construction, LLC – May 11, 2020 - $1,706,260 (US Bank PPP Loan)

             c. TRK Valpo, LLC – June 23, 2020 - $3,202,000 (Central Trust Bank PPP Loan)

             d. TL Builders, LLC – June 30, 2020 - $3,618,815 (US Bank PPP Loan)

             e. Project Design, LLC – July 20, 2020 - $3,903,857 (US Bank PPP Loan)

Keilholz also applied for or submitted documentation in support of additional PPP loans in the

name of the businesses listed based on material falsehoods and omissions; however, US Bank

denied the following applications:

        a. TRK Valpo, LLC – May 28, 2020 - $7,818,705 (US Bank – Initial PPP Loan)

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       b. TRK Construction, LLC – February 2, 2021 - $2,000,000 (US Bank – Second Round

            PPP Loan limited to $2,000,000)

       c. TL Builders, LLC – January 20, 2021 - $2,000,000 (US Bank – Second Round PPP

            Loan limited to $2,000,000)

       d. Project Design, LLC – February 2, 2021 - $2,000,000 (US Bank – Second Round PPP

            Loan limited to $2,000,000)

Further, Keilholz sought PPP Loan Forgiveness for the following PPP loans based upon material

falsehoods and omissions:

       a. TL Builders, LLC – May 20, 2021 (US Bank – for PPP loan funded June 30, 2020)

       b. TRK Construction, LLC – September 23, 2021 (US Bank – for PPP loan funded May

            11, 2020)

For the purpose of executing the scheme, Keilholz submitted and caused to be submitted

information containing material falsehoods to Hawthorn Bank, U.S. Bank, and Central Bank, in

violation of Title 18, United States Code, Section 1344. Additional evidence shows that, after

fraudulently obtaining $12,430,932 in PPP loan proceeds, Keilholz conducted and attempted to

conduct monetary transactions involving the fraud proceeds in excess of $10,000, in violation of

Title 18, United States Code, Section 1957 (Subject Offenses).

       5.      As discussed below, in November 2020 Keilholz used $73,543 in PPP loan

proceeds to purchase a new 2021 Chevrolet Tahoe for Anthony O. Brockman, who at that time

was a US Bank employee who participated in the review of the aforementioned PPP loans both

applied for and obtained by Keilholz. Brockman and Keilholz communicated via cellular phone

and Brockman caused PPP loan application documentation to be uploaded to US Bank’s computer

network. In order to accomplish these uploads, Brockman would had to have received these
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documents from Keilholz via communication in electronic form between a computer controlled by

Keilholz.

       6.      Also, as detailed below, Keilholz has used his residence to further the commission

of the Subject Offenses. Accordingly, this affidavit is made for the limited purpose of establishing

probable cause to support an application for a warrant to search Keilholz’s residence located at

508 Summerhill Drive, Jefferson City, Missouri 65109, described further in Attachment A (the

“Subject Premises”), including the DEVICES as described in Attachment B, for evidence, fruits,

and instrumentalities described further in Attachment B, concerning the Subject Offenses.

                                      PROBABLE CAUSE

       7.      The SBA was an executive branch agency of the United States government that

provided support to entrepreneurs and small businesses. The mission of the SBA was to maintain

and strengthen the nation’s economy by enabling the establishment and viability of small

businesses and by assisting in the economic recovery of communities after disasters. As part of

this effort, the SBA enabled and provided for loans through banks, credit unions and other lenders.

These loans had government-backed guarantees.

       8.      On March 27, 2020, The CARES Act established several new temporary programs

and provided for the expansion of others to address the COVID-19 pandemic. Among these

programs, the PPP authorized $349,000,000,000 in forgivable loans to small businesses to retain

workers and maintain payroll, make mortgage interest payments, lease payments, and utility

payments.

       9.      The PPP Borrower Application Form required the borrower to submit

documentation that established the borrower’s eligibility for the loan and to make a series of

certifications in order to be approved for the PPP loan by a financial institution. Acceptable

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documentation to establish eligibility for the PPP loan included payroll processor records, payroll

tax filings, Forms 1099-MISC, bank records, or income and expense forms from a sole

proprietorship.

       10.        PPP loans were required to be re-paid over two-years at an interest rate of 1%. The

maximum loan amount was $10,000,000 per business. PPP loans were forgivable for the sum of

documented payroll costs, covered mortgage interest payments, covered lease payments, and

covered utilities. Originally, not more than 25% of the forgiven amount could have been spent for

eligible non-payroll costs. Later, not more than 40% of the forgiven amount could have been spent

for eligible non-payroll costs.

       11.        Keilholz was the sole owner of the following entities:

                  a.     TRK Construction, LLC, (TRK Construction) was organized in the State of

       Missouri on August 23, 2011. On March 8, 2017, Keilholz changed the business address

       to 508 Summerhill Drive, Jefferson, City, Missouri (Subject Premises). In a quarterly wage

       report filed with the Missouri Division of Employment Security (MDES), TRK

       Construction reported the payment of $220,741.09 wages to nine (9) employees from

       January 1, 2019, through March 31, 2019. TRK Construction filed no quarterly wage

       reports with MDES from April 1, 2019, through September 30, 2020. In a quarterly wage

       report filed with the Indiana Department of Workforce Development (IDWD), TRK

       Construction reported the payment of $103,099.88 wages to five (5) employees from

       January 1, 2019, through March 31, 2019. TRK Construction filed no quarterly wage

       reports with IDWD from April 1, 2019, through September 30, 2020.

                  b.     TRK Valpo, LLC, (TRK Valpo) was organized in the State of Missouri on

       February 22, 2017. TRK Valpo filed no quarterly wage reports with MDES from January

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       1, 2019, through June 30, 2020. In a quarterly wage report filed with MDES for the third

       quarter of 2020, TRK Valpo reported the payment of $145,156.02 wages to MDES for four

       (4) employees. TRK Valpo filed no quarterly wage reports with IDWD from January 1,

       2019, through June 30, 2020. In a quarterly wage report filed with IDWD for the third

       quarter of 2020, TRK Valpo reported the payment of $85,264.54 wages for five (5)

       employees.

              c.      TL Builders, LLC, (TL Builders) was organized in the State of Missouri on

       July 21, 2007. On March 28, 2018, Keilholz changed the business address to 508

       Summerhill Drive, Jefferson City, Missouri (Subject Premises). TL Builders filed no

       quarterly wage reports with MDES from January 1, 2019, through September 30, 2020.

       TL Builders filed no quarterly wage reports with IDWD from January 1, 2019, through

       September 30, 2020.

              d.      Project Design, LLC, (Project Design) was organized in the State of Indiana

       on November 15, 2018, with a principal business address of 1290 Arrowhead Court, Crown

       Point, Indiana. On February 5, 2019, Keilholz changed the principal address for Project

       Design to 2005 West Broadway, Suite 100, Columbia, Missouri 65203. Project Design

       filed no quarterly wage reports with MDES from January 1, 2019, through September 30,

       2020. Project Design filed no quarterly wage reports with IDWD from January 1, 2019,

       through September 30, 2020.

       12.    In Small Business Administration (SBA) Paycheck Protection Program (PPP) loan

applications, Keilholz identified his wife as an employee of TRK Construction, TRK Valpo, and

Project Design, while Keilholz’s wife worked as a full-time employee of the State of Missouri as

a budget analyst with annual salaries ranging from $35,952 to $52,337. In 2017 and 2018,

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Keilholz’s wife personally guaranteed commercial loans made to TRK Construction, LLC.

Between February 21, 2019, and May 9, 2020, Keilholz’s wife wrote personal checks identified as

“loan,” “investment,” “Valpo Investment,” and “interest on home loan” in the aggregate amount

of $216,350.00 to TRK Construction and Project Design. Between May 2020 and December 2020,

Keilholz’s wife received business checks from TRK Construction, TRK Valpo, and Project Design

funded with PPP loan proceeds in the aggregate amount of $325,000 and denominated as “loan

repayments.”

       13.       Prior to March 27, 2020, Keilholz, through TRK Construction, had accrued

substantial and delinquent indebtedness to American Express, JP Morgan Chase, Citibank, N.A.,

NWI Medical Realty, LLC, Bell Hospital Systems, the Kansas City Chiefs Football Club, Renal

Treatment Centers-Mid Atlantic, Inc., DVA Renal Healthcare, Inc., Renal Treatment Centers-

Illinois, Inc., Total Renal Care, Inc., Adams Masonry, C&C Iron, Inc., C&S Concrete

Construction, Inc., Circle R Mechanical, Inc., Emcor-Hyre Electric Company of Indiana, Gluth

Brothers Roofing Company, Inc., Imboden Construction, Inc., McAllister Leasing & Excavating,

Inc., Trout Glass and Mirror, Inc., Kleckner Interior Systems, Inc., Master Tile Carpet One, Inc.,

Ryan Fire Protection, Inc., and Hawthorn Bank. All or part of these debts were satisfied by PPP

loan proceeds.

       Hawthorn Bank

       14.       Hawthorn Bank was a financial institution headquartered in Jefferson City,

Missouri. The deposits of Hawthorn Bank were insured by the Federal Deposit Insurance

Corporation (FDIC), under certificate number 10619. Hawthorn Bank maintained a long-term

banking relationship with business entities controlled by Keilholz.      After March 27, 2020,

Hawthorn Bank participated in the SBA’s PPP.

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       15.      On or about August 31, 2017, Keilholz signed Hawthorn Bank promissory note

101010203 in the amount of $550,000 for TRK Valpo, which financed the purchase of and was

secured by the real property located at 1425 Glendale, Valparaiso, Indiana. This loan originally

matured on October 15, 2017; however, the maturity date on this loan was extended six times

between October 2017 and December 2019, when the maturity date was then extended to February

5, 2020.

       16.      On or about January 24, 2018, Keilholz signed Hawthorn Bank promissory note

101011285 in the amount of $1,001,020 for TRK Construction as a line of credit secured by the

real property located at 1425 Glendale, Valparaiso, Indiana. Keilholz and his wife each personally

guaranteed this loan, which was originally scheduled to mature on January 24, 2019. On February

27, 2018, this line of credit was increased to $1,500,000 and the maturity date was extended. On

April 27, 2018, this line of credit was increased to $2,000,000 and the maturity date was extended.

Finally, in December 2019, the maturity date was extended to February 5, 2020.

       17.      On or about September 21, 2018, Keilholz signed a Hawthorn Bank promissory

note 101011737 in the amount of $976,771 for TRK Construction as a line of credit secured by

real properties located at 508 Summerhill Drive, Jefferson City, Missouri, and 3311 Shamrock

Drive, Jefferson City, Missouri, and 1425 Glendale, Valparaiso, Indiana. To obtain this line of

credit, Keilholz submitted a document that purported to be his 2017 IRS Form 1040, which

materially misstated his income and was never filed with the IRS. Keilholz and his wife each

personally guaranteed this loan, which originally was to mature on March 21, 2019. The maturity

date of this loan was extended three times during 2019, with a maturity date of February 5, 2020,

that was established in December 2019.



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        18.    On or about February 7, 2020, the Hawthorn Bank loan officer responsible for

Hawthorn Bank loans 101010203, 101011285, and 101011737, wrote a memorandum to those

loan files regarding a phone conference with Keilholz. That memorandum stated, in part, as

follows, “The Bank indicated he needed to bring the loans current and demonstrate that the project

remains viable or the bank would move forward with aggressive collection or liquidation of

collateral.”

        19.    On February 12, 2020, at approximately 9:56 a.m., Keilholz sent an e-mail to his

Hawthorn Bank loan officer, which made the following materially false statements: “Once we

have the issue with City taken care of the investors are ready to move forward,” and “The lease

with be this month or first of next and being finalized. The lease wants to see us moving again to

make sure we make next year’s deadline for them to move in.”

        20.    On or about April 28, 2020, Hawthorn Bank entered into a forbearance agreement

with TRK Construction and TRK Valpo, and with Keilholz and his wife as guarantors of Hawthorn

Bank loans 101010203, 101011285, and 101011737. Among other things, this forbearance

agreement:

        a.     Extended the maturity dates of Hawthorn Bank loans 101010203, 101011285, and

101011737, to July 25, 2020;

        b.     Required monthly payments of $25,000 to Hawthorn Bank on May 20, 2020, June

20, 2020, and July 20, 2020, on loans 101010203, 101011285, and 101011737;

        c.     Required TRK Construction and TRK Valpo, and Keilholz and his wife as

guarantors, to immediately take action to correct and cure any violations of any city ordinances,

codes, rules, regulations, and/or statutes with respect to any governmental agency of the City of

Valparaiso, Indiana, and the State of Indiana;

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       d.      Required TRK Construction and TRK Valpo, and Keilholz and his wife as

guarantors, to take action to ensure that their suppliers, laborers, materialmen, or other vendors do

not file or record any mechanics liens, or similar liens or encumbrances, with respect to 1425

Glendale Boulevard, Valparaiso, Indiana; and,

       e.      Required TRK Construction and TRK Valpo, and Keilholz and his wife as

guarantors, to provide Hawthorn Bank with weekly reports, photographs, and status updates on all

construction work with respect to 1425 Glendale Boulevard, Valparaiso, Indiana, or within 24

hours of a request by Hawthorn Bank.

       21.     On or about July 3, 2020, Keilholz purchased a cashier’s check at U.S. Bank

National Association in the amount of $3,302,830.61 payable to TRK Construction. This cashier’s

check was deposited into Hawthorn Bank account ending in 1523 and then applied to the

outstanding balances on Hawthorn Bank loans 101010203, 101011285, and 101011737. This

cashier’s check was funded by the proceeds of a PPP loan made to TL Builders.

       U.S. Bank National Association

       22.     U.S. Bank National Association (US Bank) was a financial institution

headquartered in Cincinnati, Ohio, that did business in Jefferson City, Missouri. The deposits of

US Bank were insured by the Federal Deposit Insurance Corporation (FDIC), under certificate

number 6548. US Bank maintained a banking relationship with business entities controlled by

Keilholz. After March 27, 2020, US Bank participated in the SBA’s PPP. US Bank made three

PPP loans to entities solely owned by Keilholz.

       23.     On April 16, 2020, Keilholz applied to US Bank for a PPP loan to TRK

Construction. In his application Keilholz identified himself as the sole owner, falsely stated the

business had 14 employees and an average monthly payroll of $1,434,424, and falsely certified

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that the purpose of the loan was to fund payroll, lease and mortgage interest, utilities, and

salary/commission. In supporting documentation, Keilholz falsely claimed that TRK Construction

had $18,875,308 in gross receipts or sales for 2019. On May 8, 2020, Keilholz signed the SBA

Application and Note for a $1,706,260 PPP loan for TRK Construction. On May 11, 2020, the

PPP loan proceeds were deposited into TRK Construction’s US Bank account ending in 7961.

       24.     On May 28, 2020, Keilholz applied to US Bank for a $7,818,705 PPP loan to TRK

Valpo based upon a claimed average monthly payroll of $3,127,482. In IRS Schedule C Forms

submitted with the application, Keilholz falsely claimed that TRK Valpo had $39,469,429 in gross

receipts or sales for 2019. Keilholz submitted materially different and false IRS Forms 941, IRS

Schedule C’s, and MDES and IDWD quarterly payroll wage reports in his application. On May

28, 2020, in supporting documentation, Keilholz falsely claimed TRK Valpo employed 12 persons

during the first quarter of 2019. On June 11, 2020, in revised documentation, Keilholz falsely

claimed TRK Valpo employed 170 persons during the first quarter of 2019. On June 18, 2020,

US Bank denied this application because it was unable to verify the required payroll information

from TRK Valpo.

       25.     On June 22, 2020, Keilholz applied to US Bank for a PPP loan to TL Builders. In

his application Keilholz identified himself as the sole owner, falsely stated the business had 180

employees and an average monthly payroll of $1,447,526, and falsely certified the purpose of the

loan was to fund payroll, lease and mortgage interest, and utilities. In supporting documentation,

Keilholz submitted false IRS Forms 940 and 941 that did not identify employees by name or social

security number. Anthony Brockman (“Brockman”) was a US Bank employee located in Kansas

City, Missouri that assisted Keilholz in the loan application process. There are three emails dated

June 24, 2020, June 25, 2020, and June 26, 2020 between Keilholz and Brockman in the loan file

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obtained from US Bank for this PPP loan. On June 30, 2020, Keilholz signed the SBA Application

and Note for a $3,618,815 PPP loan for TL Builders. On July 2, 2020, the PPP loan proceeds were

deposited in TL Builders’ US Bank account ending in 2279. In connection with this loan, Keilholz

submitted a Schedule C for TL Builders that falsely reported gross receipts or sales for 2019 in the

amount of $27,082,030.

       26.      On June 1, 2020, Keilholz applied to US Bank for a PPP loan to Project Design. In

his application, Keilholz identified himself as sole owner, falsely stated the business had 18

employees and an average monthly payroll of $1,561,543 and certified the purpose of the loan was

to fund payroll, lease and mortgage interest, and utilities. The application reported a business

address of 1290 Arrowhead Court, #A, Crown Point, Indiana for Project Design. In supporting

documentation Keilholz falsely claimed that Project Design had $34,654,789 in gross receipts or

sales for 2019. Keilholz provided US Bank with a MDES Quarterly Contribution and Wage Report

for the first quarter of 2020 that falsely purported that Project Design paid 215 employees

aggregate wages of $4,785,169. The social security numbers Keilholz associated to 196 of those

purported employees did not match the names of the actual persons assigned to those social

security     accounts.     On    July    10,   2020,    Brockman      submitted    an    email   to

SBAPPPLoanVerification@usbank.com regarding the Project Design loan stating, “This customer

has supplied the documents to get the application going since the extension.” On July 20, 2020,

Keilholz signed the SBA Application and Note for a $3,903,857 PPP loan for Project Design and

the PPP loan proceeds were deposited into Project Design’s US Bank account ending in 2290.

       27.      According to an interview of Terry Robinson, the landlord for 1290 Arrowhead

Court, Suite A, Crown Point, Indiana, Keilholz signed a lease to rent Suite A in 2020 and the lease



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expired in March of 2022. Robinson changed the locks on the property and Keilholz still owed

Robinson for rent, real estate taxes, and utilities.

        28.     The checking account for Project Design ending in 2290 was opened at US Bank

on July 11, 2019. The title on the bank statements for the checking account was Todd R. Keilholz,

DBA Project Design, LLC, 508 Summerhill Drive, Jefferson City, Missouri, which is the Subject

Premises, not the office space in Crown Point, Indiana.

        29.     Federal Grand Jury Subpoenas were served on AT&T for subscriber information

and toll records for the phone numbers 573-694-6636 and 816-830-2721. According to AT&T,

the subscriber for the phone number 573-694-6636 was Keilholz starting on December 24, 2004

and the account was still active on the date of the subpoena. According to AT&T, the subscriber

for the phone number 816-830-2721 was Brockman starting on December 24, 2018 and the

account was still active on the date of the subpoena. An analysis of the toll records indicated that

Brockman initially contacted Keilholz via telephone on June 18, 2020. Between June 18, 2020

and August 6, 2020, Brockman and Keilholz had approximately 53 contacts or attempted contacts

telephonically. There was no telephonic contact between Keilholz and Brockman until October

29, 2020. However, Keilholz and Brockman exchanged text messages on October 6, 2020. This

was the first date that Keilholz and Brockman exchanged text messages according to the toll

records.   Between October 29, 2020 and November 4, 2020, Keilholz and Brockman had

approximately six telephonic contacts.

        30.     On November 4, 2020, while still employed at US Bank, Brockman purchased a

2021 Chevrolet Tahoe, VIN 1GNSKTKL4MR108934, from Jim Butler Linn Chevrolet located at

317 W. Main Street, Linn, Missouri for $73,344. There was also an administrative fee of $199

added to the purchase price of the vehicle. In addition, optional equipment, accessories, and

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warranties were purchased in the amount of $5,379. Brockman resided at 11611 N. Crystal

Avenue, Kansas City, Missouri at the time of the purchase which was approximately two hours

and 50 minutes from Jim Butler Linn Chevrolet. According to an interview with the salesperson

for this purchase, Keilholz was with Brockman when the purchase was made. According to Jim

Butler Linn Chevrolet’s file for this purchase, a cashier’s check from US Bank dated November

2, 2020, in the amount of $73,543 was given to Jim Butler Linn Chevrolet for the purchase of this

vehicle. A Visa credit card was utilized to pay the remaining $5,379 of the total purchase price

for the vehicle. Based upon the information provided by Jim Butler Linn Chevrolet, this Visa

credit card appears to belong to Brockman. Keilholz’ name appeared nowhere in Jim Butler

Chevrolet’s file for this purchase.

       31.     According to US Bank, the cashier’s check was purchased by withdrawals totaling

$73,543 from the bank account of TRK Construction, LLC ending in 7961. Based upon a review

of the bank records for TRK Construction, LLC, there were no significant deposits into the TRK

Construction, LLC bank account after the deposit of the $1,706,260 PPP loan proceeds other than

transfers from Keilholz’s other business bank accounts, which were also funded by PPP loans.

Therefore, the 2021 Chevrolet Tahoe was purchased for Brockman by Keilholz with PPP loan

proceeds.

       The Central Trust Bank

       32.     The Central Trust Bank (Central Bank) was a financial institution headquartered in

Jefferson City, Missouri. The deposits of Central Bank were insured by the Federal Deposit

Insurance Corporation (FDIC), under certificate number 12633. After March 27, 2020, Central

Bank participated in the SBA’s PPP. Central Bank made one PPP loan to an entity solely owned

by Keilholz.

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       33.     On June 17, 2020, Keilholz applied to Central Bank for a PPP loan to TRK Valpo.

In his SBA Borrower Application Form, Keilholz identified himself as the sole owner, falsely

stated the business had 170 employees and an average monthly payroll of $1,280,806, and falsely

certified the purpose of the loan was to fund payroll, lease and mortgage interest, and utilities.

Keilholz reported an address for TRK Valpo, LLC of 508 Summerhill Drive, Jefferson City,

Missouri (Subject Premises) on the PPP loan application. In supporting documentation, Keilholz

falsely claimed that TRK Valpo had $34,200,282 in gross receipts or sales for 2019. In supporting

documentation, Keilholz included MDES and IDWD wage reports for all of 2019 which falsely

claimed that TRK Valpo paid aggregate wages of $15,286,667 to approximately 189 purported

employees. The social security numbers Keilholz associated to 160 of those purported employees

did not match the names of the actual persons assigned to those social security accounts. On June

23, 2020, Keilholz signed a Promissory Note for a $3,202,000 PPP loan for TRK Valpo and the

loan proceeds were deposited into TRK Valpo’s Central Bank account ending in 5804.

       34.     On June 23, 2020, Keilholz opened a Small Business Checking Account at Central

Bank in the name of TRK Valpo, LLC and reported the address 508 Summerhill Drive, Jefferson

City, Missouri (Subject Premises) to Central Bank as the address for the business. The address of

the Subject Premises was reported on numerous account opening documents that appear to have

been signed by Keilholz and was reported on the bank statements for TRK Valpo’s bank account.

       Facts Common to PPP Loans Made to TRK Construction, TL Builders, Project
       Design, and TRK Valpo

       35.     In connection with each of the PPP loans made to TRK Construction, TL Builders,

Project Design, and TRK Valpo, in the aggregate amount of $12,430,932, Keilholz had to answer

the following question: “Is the Applicant or any owner of the Applicant an owner of any other


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business, or have common management with any other business? If yes, list all such businesses

and describe the relationship on a separate sheet identified as addendum A.” Keilholz did not

identify his common 100% ownership of TRK Construction, TL Builders, Project Design, and

TRK Valpo in any completed PPP loan application.

       36.    In connection with the PPP loans made to TRK Construction, TL Builders, Project

Design, and TRK Valpo, Keilholz falsely certified the following:

              a.      that TRK Construction, TL Builders, Project Design, and TRK Valpo were

       in operation on February 15, 2020, and had employees to whom salaries were then paid;

              b.      that TRK Construction, TL Builders, Project Design, and TRK Valpo were

       eligible to receive a PPP loan under the SBA rules in effect at the time of the application;

              c.      that TRK Construction, TL Builders, Project Design, and TRK Valpo would

       only use PPP loan proceeds for business-related purposes specified in the loan application

       and consistent with SBA rules;

              d.      that the purpose for the PPP loans to TRK Construction, TL Builders,

       Project Design, and TRK Valpo included payroll, lease and mortgage interest, and utilities;

       and,

              e.      the information provided in the PPP loan application, and supporting

       documentation was true and accurate in all material respects.

       Information Obtained from Interviews Conducted

       37.    Michael Purdy was interviewed by the Affiant and another FBI SA on May 23,

2022. Purdy was employed at TRK Construction for approximately two and a half months in 2012

or 2013. Purdy never met Keilholz while he worked for TRK Construction. Purdy was not

employed at TRK Valpo in 2019 and had never heard of TRK Valpo. Purdy verified the last four

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digits of his Social Security Number and his middle initial which matched the information

associated with his name that was reported on IDWD quarterly wage reports for TRK Valpo for

all four quarters of 2019 that were submitted to Central Bank as supporting documents for the PPP

loan that TRK Valpo received.

       38.    Marissa Yadron was interviewed by the Affiant and two other Federal Agents on

May 24, 2022. Yadron advised that Keilholz hired her in October of 2018 to do the daily

accounting work for his businesses but did not actually begin working for Keilholz until February

of 2019. However, Yadron never received accounting records for Keilholz’s businesses and never

really did any accounting for his businesses. Yadron told Keilholz that she would work for him,

but she would not correct all of the accounting issues caused by Williams-Keepers, a Certified

Public Accounting firm located in Columbia, Missouri. Yadron told Keilholz that he needed to

fix those issues before she would start doing accounting work for him. Yadron provided Keilholz

with advice and answered questions he had about how his financials and payroll were set up by

Williams-Keepers. Yadron did not help Keilholz with the initial PPP loan applications because he

was not paying her at that time. Yadron did not have any conversations with Keilholz about the

PPP loans. Yadron helped Keilholz fill out the PPP loan forgiveness applications for TRK

Construction, TRK Valpo, and TL Builders. When Yadron prepared any documents for Keilholz,

the information she put on the documents was based on information that Keilholz provided to her

and they communicated through email.

       39.    Michael Grubbe was interviewed by the Affiant and another FBI SA on August 17,

2022. Grubbe was a former employee of TRK Construction, LLC, and advised that he worked for

TRK Construction, LLC in an office located at 8350 Saint Clair Avenue, North, #200, Kansas

City, Missouri. Grubbe further stated that Keilholz only visited the Kansas City office of TRK

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Construction once or twice per year when the Kansas City office was fully operational. Grubbe

advised that the landlord for the Kansas City office of TRK Construction told Grubbe to get out of

the office space since the landlord had not been paid by TRK Construction. Therefore, TRK

Construction, LLC no longer has office space in Kansas City, Missouri. Grubbe did not prepare

any financial documents for any of Keilholz’s businesses, did not assist Keilholz with any PPP

loan applications, and did not create any quarterly wage reports for any of Keilholz’s businesses.

       40.     Keilholz was interviewed on August 10, 2022, by the Affiant and two other Federal

Agents. This interview was audio recorded. During the interview, Keilholz stated that he was told

by a male US Bank employee located in Kansas City how to fill out the PPP loan applications.

Keilholz could not remember the US Bank employee’s name and had not met the US Bank

employee until he began the PPP loan process. Keilholz also admitted that he sent the PPP loan

application documents to US Bank via email.                 Keilholz used the email addresses

TKeil@trkconstruct.com, TKeil@trkvalpo.com and TRK@TLBuilder.com. When asked about

the MDES and IDWD quarterly wage reports with false information reported on them that were

submitted in support of the PPP loan applications, Keilholz stated that he did not fill in any of the

information on the documents, create the quarterly wage reports, or alter the documents in any

way. However, Keilholz could not remember who provided the quarterly wage reports to him.

Keilholz advised during the interview that he would try to figure out who provided him with the

quarterly wage reports containing the false information and contact the Agents with the

information. As of the date of this affidavit, Keilholz has not provided that information to the

Agents. Keilholz admitted to signing the PPP loan documents electronically at his house, 508

Summerhill Drive, Jefferson City, Missouri (Subject Premises). At the end of the interview,

Keilholz told the Affiant that when the Affiant was at his house earlier that day, he was downstairs

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in his office and had headphones on, so he did not hear the Agents at the door. The Affiant and

two other Federal Agents were at 508 Summerhill Drive, Jefferson City, Missouri (Subject

Premises) on the morning of the interview and rang the doorbell and knocked on the doors of the

residence in an attempt to interview Keilholz.

       41.     Brockman was interviewed by the Affiant and another FBI SA on August 29, 2022.

During the interview, Brockman admitted to assisting Keilholz with the PPP loan applications for

two of Keilholz’s companies. Brockman advised that his assistance was simply making sure that

Keilholz submitted the documents that US Bank needed in order to process the PPP loan

applications because most customers either included too many supporting documents or did not

include the correct supporting documents. Brockman denied creating any of the supporting

documents that Keilholz submitted for the loan applications. Brockman admitted that Keilholz

purchased a Tahoe for him but stated that he saw nothing wrong with it because Brockman

intended to purchase the vehicle himself and could have afforded to purchase the vehicle himself.

Brockman also admitted that he assisted Keilholz with the submission of the second round of PPP

loan applications in early 2021. However, Keilholz was not approved for any of the second-round

loans. Brockman quit working for US Bank on May 7, 2021 and did not work for approximately

six months.

       42.     According to the analysis of Brockman’s phone records for the phone number 816-

830-2721, Brockman and Keilholz had telephonic contact or attempted telephonic contact with

each other approximately 116 times between January 4, 2021 and May 3, 2021. During this time

there were consistent text message exchanges between Brockman and Keilholz. After May 3,

2021, Keilholz and Brockman had no further text message exchanges and only had telephonic



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contact or attempted telephonic contact eleven times between June 8, 2021 and December 15,

2021.

        43.    In summary, the Missouri and Indiana quarterly wage reports submitted in support

of the PPP loan applications discussed in the previous paragraphs do not match the wage

information submitted to the State of Missouri or the State of Indiana for Keilholz’s businesses.

In my training and experience, these documents are most easily created with the use of a computer

because these forms are available on the internet in fillable pdf format. Based upon the statements

of employees interviewed by Federal Agents, no employees helped Keilholz create the quarterly

wage reports. Keilholz has no offices in which he can store physical business documents or in

which he can work on his computer on items for his four businesses. Based upon reviews of the

loan application files that were received for the PPP loans that Keilholz’s businesses received from

US Bank and Central Bank, and records provided by Hawthorn Bank, there were large amounts of

communications between Keilholz and bank representatives that occurred over email. Keilholz

admitted that he electronically signed the PPP loan applications from home which is the Subject

Premises. During the time period that Keilholz submitted the PPP loan applications, there was no

work being performed on the job site where his company was building a medical building in

Valparaiso, Indiana and most of Keilholz’s employees were collecting unemployment. During the

pandemic, most people who were “non-essential employees” were working from home. Therefore,

I believe that there is probable cause that Keilholz created the documents on his computer

containing false information that were submitted electronically in support of the PPP loan

applications for Keilholz’s businesses or someone else created the documents containing false

information and sent them to him via e-mail. In either of those circumstances, the documents

containing false information and the source of the documents would be on Keilholz’s computer.

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In addition, e-mail communications with the former US Bank employee, Anthony Brockman,

regarding Brockman’s level of assistance in obtaining the PPP loans and applying for the second

round of PPP loans for Keilholz’s businesses would also be present on Keilholz’s computer and/or

in the text messages exchanged with Brockman on Keilholz’s phone.

               INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       44.     Based upon the information set forth above and immediately below, I believe there

is probable cause to conclude that within the Subject Premises there is evidence and

instrumentalities of the Subject Offenses. Accordingly, I request that the Court issue a search

warrant for the Subject Premises, and the DEVICES as described in Attachment B, for the items

set forth in Attachment B to this affidavit.

       45.     Based on the information set forth above, my training and experience, and the

training and experience of other law enforcement officers involved in this investigation, I know

that it is common for small businesses involved in construction and contracting to keep records

relating to the following:

               a.      Records (in either electronic or paper form) relating to sales and client

       transactions, including, but not limited to, financial statements, correspondence,

       spreadsheets, email messages, records documenting the type of financing services rendered

       or purchased, including customer lists, transaction dates, the cost of services to be rendered,

       as well as invoices, letters, and contracts;

               b.      Records (in either electronic or paper form) relating to employees and

       business associates, including, but not limited to, contact books, ledgers, invoices, email

       communications, correspondence, payments, etc., concerning clients and parties with



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       whom Tod Ray Keilholz a/k/a Todd Ray Keilholz, TRK Construction, LLC, TRK Valpo,

       LLC, TL Builders, LLC, and Project Design, LLC did business.

       46.     Based upon my training and experience, I know that it is necessary for profit-

producing businesses like those operated by Tod Ray Keilholz a/k/a Todd Ray Keilholz – even

businesses involved in fraudulent transactions – to maintain other books and records sufficient to

operate the business and to track income and expenses. These records typically include (in either

electronic or paper form): ledgers, journals, receipts, invoices, bank statements, income tax returns,

purchase and sale records, accounts payable and receivable records, customers’ files, and payroll

records.

       47.     Based on my training and experience, I know it is common practice for individuals

who are involved in business activities of any nature to maintain books, records, and notes of such

business activities for lengthy periods of time, and that individuals who maintain these records

keep them in places that are secure but easily accessible, such as in their business offices.

       48.     Based on my training and experience, I also know that individuals in business

communicate about the business – including its sales, customers, business plans, profits, etc. – in

many forms, including via paper memoranda and emails. These communications are often stored

at the business location and on computers and on computer servers maintained by the business.

       49.     Based on my training and experience, I know that businesses keep financial records

(such as loan applications and the documents supporting the loan applications) in many forms,

including electronically. Consequently, I believe that the documents sought by the search warrant

may be stored on computers and laptops used by Tod Ray Keilholz a/k/a Todd Ray Keilholz. The

protocol for the search of the computers and laptops pursuant to this warrant is set forth below and

in Attachment B.

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       50.     Based upon my training and experience, I know that a cellular telephone is a storage

device that is capable of storing and transmitting electronic versions of documents described in

this affidavit that were utilized by Keilholz to apply for and obtain the PPP loans detailed in the

paragraphs above.

                                    TECHNICAL TERMS

       51.     Based on my training and experience, I use the following technical terms to convey

the following meanings:

               a.     IP Address: The Internet Protocol address (or simply “IP address”) is a

       unique numeric address used by computers on the Internet. An IP address looks like a

       series of four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

       Every computer attached to the Internet must be assigned an IP address so that Internet

       traffic sent from and directed to that computer may be directed properly from its source to

       its destination. Most Internet service providers control a range of IP addresses. Some

       computers have static—that is, long-term—IP addresses, while other computers have

       dynamic—that is, frequently changed—IP addresses.

               b.     Internet: The Internet is a global network of computers and other electronic

       devices that communicate with each other. Due to the structure of the Internet, connections

       between devices on the Internet often cross state and international borders, even when the

       devices communicating with each other are in the same state.

               c.     Storage medium: A storage medium is any physical object upon which

       computer data can be recorded. Examples include hard disks, RAM, floppy disks, flash

       memory, CD-ROMs, and other magnetic or optical media.



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        COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       52.     As described above and in Attachment B, this application seeks permission to

search for records that might be found within the Subject Premises, in whatever form they are

found. One form in which the records might be found is data stored on a computer’s hard drive or

other storage media. Thus, the warrant applied for would authorize the seizure of electronic

storage media or, potentially, the copying of electronically stored information, all under Rule

41(e)(2)(B).

       53.     I submit that if a computer or storage medium is found within the Subject Premises,

there is probable cause to believe those records will be stored on that computer or storage medium,

for at least the following reasons:

               a.      Based on my knowledge, training, and experience, I know that computer

       files or remnants of such files can be recovered months or even years after they have been

       downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

       downloaded to a storage medium can be stored for years at little or no cost. Even when

       files have been deleted, they can be recovered months or years later using forensic tools.

       This is so because when a person “deletes” a file on a computer, the data contained in the

       file does not actually disappear; rather, that data remains on the storage medium until it is

       overwritten by new data.

               b.      Therefore, deleted files, or remnants of deleted files, may reside in free

       space or slack space—that is, in space on the storage medium that is not currently being

       used by an active file—for long periods of time before they are overwritten. In addition, a

       computer’s operating system may also keep a record of deleted data in a “swap” or

       “recovery” file.

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               c.     Wholly apart from user-generated files, computer storage media—in

       particular, computers’ internal hard drives—contain electronic evidence of how a computer

       has been used, what it has been used for, and who has used it. To give a few examples,

       this forensic evidence can take the form of operating system configurations, artifacts from

       operating system or application operation, file system data structures, and virtual memory

       “swap” or paging files. Computer users typically do not erase or delete this evidence,

       because special software is typically required for that task. However, it is technically

       possible to delete this information.

               d.     Similarly, files that have been viewed via the Internet are sometimes

       automatically downloaded into a temporary Internet directory or “cache.”

       e.      Based on actual inspection of other evidence related to this investigation, I am

aware that computer equipment was used to generate, store, and email documents used in the bank

fraud scheme. There is reason to believe that there is a computer system currently located within

the Subject Premises because the other two business locations that were maintained by Keilholz

are no longer accessible to Keilholz.

       54.     Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the Subject Premises

because:

               a.     Data on the storage medium can provide evidence of a file that was once on

       the storage medium but has since been deleted or edited, or of a deleted portion of a file

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(such as a paragraph that has been deleted from a word processing file). Virtual memory

paging systems can leave traces of information on the storage medium that show what tasks

and processes were recently active. Web browsers, e-mail programs, and chat programs

store configuration information on the storage medium that can reveal information such as

online nicknames and passwords. Operating systems can record additional information,

such as the attachment of peripherals, the attachment of USB flash storage devices or other

external storage media, and the times the computer was in use. Computer file systems can

record information about the dates files were created and the sequence in which they were

created, although this information can later be falsified.

       b.      As explained herein, information stored within a computer and other

electronic storage media may provide crucial evidence of the “who, what, why, when,

where, and how” of the criminal conduct under investigation, thus enabling the United

States to establish and prove each element or alternatively, to exclude the innocent from

further suspicion. In my training and experience, information stored within a computer or

storage media (e.g., registry information, communications, images and movies,

transactional information, records of session times and durations, internet history, and anti-

virus, spyware, and malware detection programs) can indicate who has used or controlled

the computer or storage media. This “user attribution” evidence is analogous to the search

for “indicia of occupancy” while executing a search warrant at a residence. The existence

or absence of anti-virus, spyware, and malware detection programs may indicate whether

the computer was remotely accessed, thus inculpating or exculpating the computer owner.

Further, computer and storage media activity can indicate how and when the computer or

storage media was accessed or used. For example, as described herein, computers typically

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contain information that log: computer user account session times and durations, computer

activity associated with user accounts, electronic storage media that connected with the

computer, and the IP addresses through which the computer accessed networks and the

internet. Such information allows investigators to understand the chronological context of

computer or electronic storage media access, use, and events relating to the crime under

investigation. Additionally, some information stored within a computer or electronic

storage media may provide crucial evidence relating to the physical location of other

evidence and the suspect. For example, images stored on a computer may both show a

particular location and have geolocation information incorporated into its file data. Such

file data typically also contains information indicating when the file or image was created.

The existence of such image files, along with external device connection logs, may also

indicate the presence of additional electronic storage media (e.g., a digital camera or

cellular phone with an incorporated camera). The geographic and timeline information

described herein may either inculpate or exculpate the computer user. Last, information

stored within a computer may provide relevant insight into the computer user’s state of

mind as it relates to the offense under investigation. For example, information within the

computer may indicate the owner’s motive and intent to commit a crime (e.g., internet

searches indicating criminal planning), or consciousness of guilt (e.g., running a “wiping”

program to destroy evidence on the computer or password protecting/encrypting such

evidence in an effort to conceal it from law enforcement).

       c.      A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how

computers were used, the purpose of their use, who used them, and when.

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               d.       The process of identifying the exact files, blocks, registry entries, logs, or

       other forms of forensic evidence on a storage medium that are necessary to draw an

       accurate conclusion is a dynamic process. While it is possible to specify in advance the

       records to be sought, computer evidence is not always data that can be merely reviewed by

       a review team and passed along to investigators. Whether data stored on a computer is

       evidence may depend on other information stored on the computer and the application of

       knowledge about how a computer behaves. Therefore, contextual information necessary

       to understand other evidence also falls within the scope of the warrant.

               e.       Further, in finding evidence of how a computer was used, the purpose of its

       use, who used it, and when, sometimes it is necessary to establish that a particular thing is

       not present on a storage medium. For example, the presence or absence of counter-forensic

       programs or anti-virus programs (and associated data) may be relevant to establishing the

       user’s intent.

       55.     Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make an

image copy of storage media. Generally speaking, imaging is the taking of a complete electronic

picture of the computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded on the storage

media, and to prevent the loss of the data either from accidental or intentional destruction. This is

true because of the following:



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              a.      The time required for an examination. As noted above, not all evidence

       takes the form of documents and files that can be easily viewed on site. Analyzing evidence

       of how a computer has been used, what it has been used for, and who has used it requires

       considerable time, and taking that much time on premises could be unreasonable. As

       explained above, because the warrant calls for forensic electronic evidence, it is

       exceedingly likely that it will be necessary to thoroughly examine storage media to obtain

       evidence. Storage media can store a large volume of information. Reviewing that

       information for things described in the warrant can take weeks or months, depending on

       the volume of data stored, and would be impractical and invasive to attempt on-site.

              b.      Technical requirements. Computers can be configured in several different

       ways, featuring a variety of different operating systems, application software, and

       configurations. Therefore, searching them sometimes requires tools or knowledge that

       might not be present on the search site. The vast array of computer hardware and software

       available makes it difficult to know before a search what tools or knowledge will be

       required to analyze the system and its data on the Premises. However, taking the storage

       media off-site and reviewing it in a controlled environment will allow its examination with

       the proper tools and knowledge.

              c.      Variety of forms of electronic media. Records sought under this warrant

       could be stored in a variety of storage media formats that may require off-site reviewing

       with specialized forensic tools.

       56.    Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

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warrant, and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

       57.      Because Keilholz shares the Subject Premises as a residence with his wife, it is

possible that the Subject Premises will contain storage media that are predominantly used, and

perhaps owned, by persons who are not suspected of a crime. If it is nonetheless determined that

it is possible that the things described in this warrant could be found on any of those computers or

storage media, the warrant applied for would permit the seizure and review of those items as well.




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                                         CONCLUSION

        58.    I submit that this affidavit supports probable cause for a warrant to search the

Subject Premises described in Attachment A, the DEVICES as described in Attachment B, and

seize the items described in Attachment B.

        59.    The facts set forth in this affidavit are true and correct to the best of my knowledge

and belief.

       Further, Affiant sayeth not.




                                             Special Agent
                                             Federal Bureau of Investigation


       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 41

by telephone on this, the 12th day of September, 2022.




                                           Willie J. Epps, Jr.
                                           United States Magistrate Judge




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